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                 EXHIBIT 1
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 2                   IN THE COURT OF COMMON PLEAS
 3            FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
 4                           CIVIL TRIAL DIVISION
 5                                   - - -
 6
                                          :
 7   IN RE: XARELTO LITIGATION            :
 8   DANIEL RUSSELL                       :
 9                 VS.                    :      NO. 150500362
10   JANSSEN PHARMACEUTICALS,             :
11   INC., et al.                         :
12                                   - - -
13                       Thursday, April 12, 2018
14                                   - - -
15                       TRIAL - AFTERNOON SESSION
16                                   - - -
17                              COURTROOM 243
18                                CITY HALL
19                    PHILADELPHIA, PENNSYLVANIA
20                                   - - -
21   B E F O R E:        THE HONORABLE MICHAEL ERDOS, J.
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 2   works.

 3          Q.   Same on Tuesday?

 4          A.   Every day that I'm working on this, yes,

 5   sir.

 6          Q.   How many hours did you spend working on

 7   this on Tuesday?

 8          A.   Oh, I probably -- I don't know.               I spent a

 9   considerable amount Tuesday reading a lot of stuff.

10   I don't know exactly.         I have to go back and look.

11   But I spent a considerable amount of time.

12          Q.   Can you give the jury an estimate, 10

13   hours, 12 hours?

14          A.   Maybe something like that.

15          Q.   Would you say the same about Monday?

16          A.   I'd have to go back and look.            Yes, I take

17   this very seriously, and I was focusing on reviewing

18   a lot of documents.        So I put that time in, yes.

19          Q.   Same yesterday; right?

20          A.   Oh, yeah, I took this very seriously.

21          Q.   If we include today, we'll see, hopefully

22   we can finish today and we don't have to bring you

23   back tomorrow, but can we say you're going to make

24   about $40,000 this week having been in Philadelphia

25   to work on this case?

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 2          A.   You do the math exactly correct, I mean,

 3   yes.

 4          Q.   Now, we heard that you have been involved

 5   on both the plaintiff side and the defense side.

 6               That's what you testified to on direct;

 7   correct?

 8          A.   I have been primarily on the plaintiff side

 9   I think I testified to, but some on the defense side.

10          Q.   I went and counted up.          You've been

11   involved in 28 different litigations.

12               Does that sound right?

13          A.   I don't want to -- I'll take your word for

14   it, Counselor.

15          Q.   I identified four in which you've been on

16   the defense side.

17               Does that sound right?

18          A.   That sounds probably the right proportion.

19   Again, I'll take your word for it.             I've never

20   counted it up, but that's probably the right ratio is

21   my guess.

22          Q.   So one of those was between two different

23   pharmaceutical companies.          So you were on the defense

24   side, but it was against a pharmaceutical company;

25   right?

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 2          A.   I think it was a dispute with two

 3   pharmaceutical companies, yes.

 4          Q.   One was between a pharmaceutical company

 5   and an insurance company, and you were on the

 6   insurance side; right?

 7          A.   That's exactly what I -- that's correct.

 8          Q.   Another was a med-mal-type issue, is that

 9   right, where you were on the defense?

10          A.   Yes, I think that was exactly, I believe,

11   involved certain pharmaceutical companies, and I was

12   for the pharmaceutical company, yes.

13          Q.   And then the fourth was for a coffee

14   company, and there were allegations there should be

15   cancer warnings on coffee cups; right?

16          A.   For the major coffee roasters like

17   Starbucks, for that industry.

18          Q.   Those are the four where you've been on

19   this side of the defense; correct?

20          A.   Those are the ones that come to mind.                I

21   don't know if there was another insurance company or

22   not.    I have to take a look.

23          Q.   So that leaves 24 litigations where you've

24   been an expert; right?

25          A.   Yes, by your math, yes.          I'm not disputing

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 2   any of your -- you counted it.           I appreciate it.

 3         Q.    In all 24 of those cases you have been on

 4   the side of the plaintiff; right?

 5         A.    Yes.

 6         Q.    And in all of those cases that involve the

 7   pharmaceutical company, you have testified against

 8   the pharmaceutical company; correct?

 9         A.    If the pharmaceutical company for those --

10   again, we have to go through it, but, yes, on the

11   plaintiffs, against the defendant, yes.

12         Q.    That's almost all of the 24?

13         A.    If the numbers are exactly what you said,

14   four out of 28, I certainly agree with that.                That's

15   just the way it works.

16         Q.    In any of those cases where a label was at

17   issue, you have testified on behalf of the plaintiffs

18   that the label was inadequate; correct?

19         A.    You know, I've actually gone back and

20   looked.    And sometimes I've been asked a question

21   whether the label was adequate, and I've actually

22   testified, I believe, you have to look at the exact

23   testimony, it's adequate.

24               Most of the time, you're right, in a

25   failure-to-warn case, if I'm testifying and I get to

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 2   that stage, you are right, the label would be

 3   inadequate.

 4         Q.     Over 20 times -- in over 20 litigations

 5   against pharmaceutical companies, you have

 6   consistently been on the side of plaintiffs and have

 7   said that the labels at issue are inadequate; right?

 8         A.     Be careful.      I don't think -- a number of

 9   those cases are antitrust cases.

10         Q.     My question is, the ones that involve a

11   label, out of those 24 against pharmaceutical

12   companies, every single time the label is at issue

13   and you have testified, you have said the label is

14   inadequate; right?

15         A.     In some of those cases where the label

16   comes up, I've testified that it's adequate.                I'd

17   have to go back and read the transcript, but

18   generally your point I'm not disputing.              But I just

19   want to get it exactly right, Counselor.

20         Q.     Now, today it's true that you're involved

21   in 10 to 15 cases, having nothing to do with Xarelto,

22   around the country where you are testifying against

23   pharmaceutical companies on behalf of plaintiffs'

24   attorneys?

25         A.     I'm not sure where you get that number of

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 2   10 to 15 where I'm actively involved.

 3          Q.    Well, let's show you where I got it from.

 4          A.    Sure, that I'm actively involved today.

 5          Q.    I'm going to show you a transcript from a

 6   different litigation dated March 12, 2018, so a month

 7   ago.

 8          A.    Okay.

 9          Q.    So here you were asked a month ago:              How

10   many other product liability cases, not other cases,

11   how many other products or how many other products

12   are you currently acting as an expert witness for the

13   plaintiff?

14                You said:     I have no idea.        I'd have to

15   think that through and look at a list.

16                Ten, fifteen?

17                No.     I think that's the case.         Again, I

18   don't know sitting here what's accurate, what's not

19   accurate.

20                Right?

21          A.    I take it that's the transcript, but I

22   don't think I'm agreeing there that it's ten to

23   fifteen.     I certainly don't have a number of ten to

24   fifteen in my head that I'm actively involved in.                   I

25   think I answered that no.

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                                CERTIFICATE


                                      I, Shannan Gagliardi,
     Registered Diplomate Reporter in and for the
     Commonwealth of Pennsylvania, do hereby certify that
     the foregoing is a true and accurate transcript of
     the notes of testimony of said witness who was first
     duly sworn on the date and place hereinbefore set
     forth.


                                      I further certify that I am
     neither attorney nor counsel for, nor related to or
     employed by any of the parties to the action in which
     this trial was taken, and further, that I am not a
     relative or employee of any attorney or counsel
     employed in this action, nor am I financially
     interested in this case.




     SHANNAN GAGLIARDI
     Registered Diplomate Reporter
     Certified Realtime Reporter
